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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                4:09CR3044
        vs.
                                                                  ORDER
RICARDO GONZALES,
                     Defendants.



        Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
308).    As explained by counsel, the parties need additional time to engage in plea
discussions. The motion to continue is unopposed. Based on the representations of
counsel, the court finds the motion should be granted. Accordingly,

        IT IS ORDERED:

        1)     Defendant’s motion to continue, (filing no. 308), is granted.

        2)    The defendant's plea hearing will be held before the undersigned magistrate
              judge on December 9, 2015 at 9:30 a.m.. The defendant is ordered to
              appear at this hearing.

        3)    For the reasons stated by counsel, the Court finds that the ends of justice
              served by continuing defendant's plea hearing outweigh the best interest of
              the defendant and the public in a speedy trial. Accordingly, the time
              between today's date and the district court judge's acceptance or rejection of
              the anticipated plea of guilty shall be excluded for speedy trial calculation
              purposes. 18 U.S.C. § 3161(h)(7).

        November 9, 2015.
                                                 BY THE COURT:
                                                 s/ Cheryl R. Zwart
                                                 United States Magistrate Judge
